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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


                                                                Chapter 11
    In re
                                                                Case No. 16-11626 (CTG)
    ESSAR STEEL MINNESOTA LLC and ESML
    HOLDINGS INC.,1                                             (Jointly Administered)

                            Reorganized Debtors.


    MESABI METALLICS COMPANY LLC
    (F/K/A ESSAR STEEL MINNESOTA LLC),

                            Plaintiff,

            v.                                                  Adv. Proc. No. 17-51210 (CTG)

    CLEVELAND-CLIFFS INC. (F/K/A CLIFFS
    NATURAL RESOURCES INC.);
    CLEVELAND-CLIFFS MINNESOTA LAND
    DEVELOPMENT LLC; GLACIER PARK IRON
    ORE PROPERTIES LLC; and DOES 1-10

                            Defendants.


    GLACIER PARK IRON ORE PROPERTIES
    LLC,

                             Counterclaim Plaintiff,

            v.

    MESABI METALLICS COMPANY LLC
    (F/K/A ESSAR STEEL MINNESOTA LLC),

                             Counterclaim Defendant.




1
          Essar Steel Minnesota LLC has changed its name to Mesabi Metallics Company LLC. The last four digits
of its federal taxpayer identification number are 8770. The last four digits of ESML Holdings Inc.’s federal taxpayer
identification number are 8071.
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                NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                   HEARING ON JUNE 28, 2023 AT 2:00 P.M. (ET)

               COURTCALL WILL NOT BE USED FOR THIS HEARING.
                ALL AUDIO WILL BE PROVIDED THROUGH ZOOM.

 ESML/Mesabi—Case No. 16-11626 (CTG)
 When: June 28, 2023 at 2:00 PM Eastern Time (US and Canada)

 All participants must register prior to the hearing through this link:
 https://debuscourts.zoomgov.com/meeting/register/vJItd--pqDouHhUA8z9UEYClEsaoCAsBRuQ

 As part of the Court’s protocol, please remember to register with ZOOM no later than Tuesday,
 June 27, 2023 at 4:00 p.m. (ET) in order to avoid being denied access. After registering, you will
 receive a confirmation email containing information about joining the meeting.


I.     MATTER GOING FORWARD

       1.      [SEALED] Letter To Judge Goldblatt Filed by Cleveland-Cliffs, Inc. [Date
               Filed: 6/20/23; D.I. 749]

               Related Document: None.

               Responses Received: Mesabi’s responsive letter is due at the end of the day June
               27, 2023.

               Status:    Status hearing going forward.


 Dated: June 26, 2023                                BAYARD, P.A.
 Wilmington, Delaware
                                                     /s/ Evan T. Miller
                                                     Evan T. Miller (No. 5364)
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                                                     Counsel to the Reorganized Debtors




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